          Case 2:11-cv-00417-MCE-GGH Document 9 Filed 12/30/11 Page 1 of 2


1    Todd M. Friedman, Esq. (216752)
2    Darin Shaw, Esq. (251037)
     Law Offices of Todd M. Friedman, P.C.
3
     369 S. Doheny Dr., #415
4    Beverly Hills, CA 90211
5
     Phone: (877) 206-4741
     Fax: (866) 633-0228
6    tfriedman@AttorneysForConsumers.com
7    dshaw@attorneysforconsumers.com
     Attorneys for Plaintiff
8

9                      UNITED STATES DISTRICT COURT
10
                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11   ROBIN LANGLEY AND VINCE) Case No. 2:11-cv-00417-MCE -GGH
     LANGLEY,                       )
12
     Plaintiff,                     ) NOTICE OF VOLUNTARY
13
                                    ) DISMISSAL WITH PREJUDICE
14          vs.                     )
                                    )
15
     ARS NATIONAL SERVICES, INC. )
16
     Defendant.                     )
17
                                    )
                                    )
18
            NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
19
     Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
20

21   prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
22
     motion for summary judgment. Accordingly, this matter may be dismissed with
23

24   prejudice and without an Order of the Court.
25
           RESPECTFULLY SUBMITTED this 30th day of December, 2011.
26

27
                              By:    s/Todd M. Friedman
                                     Todd M. Friedman, Esq.
28                                   Law Offices of Todd M. Friedman, P.C.
                                     Attorney for Plaintiff


                                       Notice of Dismissal - 1
          Case 2:11-cv-00417-MCE-GGH Document 9 Filed 12/30/11 Page 2 of 2


1    Filed electronically on this 30th day of December, 2011, with:
2
     United States District Court CM/ECF system
3

4    And hereby served upon all parties
5
     Notification sent on this 30th day of December, 2011, via the ECF system to:
6

7    Honorable Morrison C. England, Jr.
     Judge of the United States District Court
8
     Eastern District of California
9
     Copy sent via mail on this 30th day of December, 2011, to:
10

11   Susan L. Germaise
12   McGuireWoods LLP
     1800 Century Park East
13
     8th Floor
14   Los Angeles, CA 90067
15
     By: s/Todd M. Friedman
16       Todd M. Friedman
17

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                                       Notice of Dismissal - 2
